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                           IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA
                                                                Case No. 1:24CR-00322-001

                   V.                                           Sentencing Date: January 17, 2025

 Brian Leo Kelly                                                The Honorable Tanya S. Chutkan
        Defendant



                                POSITION OF THE DEFENSE
                          WITH RESPECT TO SENTENCING FACTORS

          In accordance with this Court's policy regarding sentencing and §6A1.2 of the

 United States Sentencing Guidelines and Policy Statements, Counsel for the Defendant

 hereby represents that he and his client have reviewed the Probation Officer's report and

 that we have no additions, corrections or objections.

          Pursuant to §1B1.9 of the Guidelines, the offenses of conviction are petty offenses;

 as petty offenses, the Sentencing Guidelines do not apply and Supervised Release is not

 applicable. The statutory maximum punishment for each count is a term of imprisonment

of up to six months, a fine of up to $5,000.00 and up to five years of probation. ' Pursuant to

our Plea Agreement, Mr. Kelly stands ready to pay $500.00 in restitution and a Special

Assessment of $10 per count.

         The parties have reserved argument on other sentencing matters. Where the

Assistant United States Attorney has recommended a sentence of 14 days, we agree with

the Probation Officer that a two-year term of probation is an appropriate sentence that



' Pursuant to the D.C. Circuit's holding in United States v. James Little, 78 F.4? 453 (D.C. Cir 2023), the
 Court can impose jail time or probation for a petty offense, but not both.
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meets all the aims delineated by Congress in 18 U.S.C. §3553(a). In addition, we have

financial information to present to the Court proving that Mr. Kelly has no ability to pay a

fine and we ask that the Court assess only the $500.00 in restitution included in our Plea

Agreement.

       In presenting our argument, we take each of the §3553(a) factors in turn.



        The Nature and Circumstance of the Offense

        January 6, 2021 was one of the darkest days in our Nation's history. Spurred on by

pent-up resentment of government and lies about stolen election results, thousands of

 Americans marched on the Capitol, pushed through the barricades, fought with officers and

overran the building while both the House and Senate were meeting to certify the electoral

results. Mr. Kelly arrived at the Upper West Terrace doorway after the doors had been

forced open, and though he did not remove barricades, fight with police officers or destroy

property to get there, he did enter the building and spend approximately half an hour

walking in the Rotunda, chanting "U! S! A!" in the Statuary Hall Connector and taking

photographs and videos of what and whom he saw as the stench of pepper spray hung in

the air and the detritus of the mob and their acts of violence and vandalism lay strewn on

the floor,


       This is shameful behavior, and Mr. Kelly agreed at the time he entered his plea that

he knew the gravity of the situation as soon as he entered the Rotunda - the Capitol is, as

he told the Court, a beautiful and important place and everything he saw happening there

was wrong. Mr. Kelly knew, as he told the Court, that the Capitol deserves much more

reverence and respect than he demonstrated that day, and that his very presence contributed




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to the misguided and momentary courage of those around him and their delusional belief

that the crimes they were committing were somehow the righteous acts of patriots.

         To assess Mr. Kelly's relative culpability, however, it is important to discuss

 everything he did not do on January 6. He was not one of the approximately 18 defendants

who were part of a seditious conspiracy. He was not one of the approximately 608 charged

 with assaulting, resisting or impeding law enforcement during a civil disorder, let alone the

 approximately 174 defendants charged with assaulting a police officer and causing bodily

injury or the approximately 180 defendants charged with entering the area with a dangerous

 or deadly weapon. He was not one of the approximately 259 defendants charged with

 seeking to obstruct Congress. He was not one of the approximately 91 defendants who

 destroyed government property or the approximately 68 who stole government property?

          In addition, as both the Probation Officer and the Assistant United States Attorney

 have written, once inside the building he did not approach, let alone enter, any non-public

 areas. He did not exhort others to commit any crime, let alone a violent one. And he did not,

 as so many others did, destroy evidence or obstruct justice after the fact.

         Respectfully, we assert that Mr. Kelly is much more like the 433 defendants

sentenced to terms of probation than the 667 given some period of incarceration. Using the

government's sentencing recommendations as a proxy for relative culpability, their

suggestion of a 14-day sentence places Mr. Kelly among the 200 least culpable defendants

sentenced. Though the January 6 cases are sui generis and there are no Guideline



2 All of these statistics are taken from a report from the Department of Justice entitled "48 Months Since the
Jan. 6 Attack on U.S. Capitol," dated January 6, 2025 and posted online at https://www.justice.gov/usao-
dc/48-months-jan-6-attack-us-capitol

*The most current compilation of sentences imposed in January 6 cases, dated January 6, 2025 and available
online at https://www.justice.gov/usao-dc/media/1331746/dl?inline, reflects that the government suggested
probation in a limited number of cases (10 in total) decided in 2021, and probation with some period of home


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provisions for the Court to consider, the available empirical data from more than 1100

sentencing orders and the collective experience of judges in this district suggest that Mr.

Kelly should be sentenced to probation, not jail.



       The History and Characteristics of the Defendant

        Mr. Kelly is a 62-year old Virginia resident whose own history and characteristics

suggest that a term of probation is appropriate. As the Probation Officer noted, he is a

widower without children, in good physical health given his age, with no reported mental

health issues and no history of substance abuse. He has one prior criminal conviction, a

misdemeanor from 1992. He has lived in Northern Virginia most of his life, and at the

same address in Fairfax County since 2002. Though he dropped out of school at a young

age, he was trained to become a welder and has built a business providing welding services

and dumpsters for the disposal of rubble and construction debris. He is an expert operator

of heavy construction equipment, such as backhoes and bulldozers. He has also made

himself a trusted expert in the safe removal of diesel and home heating oil tanks.

        Unfortunately, the same difficulties with memory and concentration that led him to

leave school as a young man (and have contributed to his checkered history of prompt

compliance with Pre-Trial Services' telephone checks) have led him into significant

financial distress in recent years. He is, at the time of this writing, desperately trying to sell

his home before losing it to creditors; documents related to his debt and the intentions of

the successor trustee named by the Fairfax County Circuit Court are included with this

memorandum under separate cover. Without his wife around to assist him with managing



confinement in an additional 72 cases. The next-lowest recommendation. 14 days in jail, was made in 118
other cases; 92 of those defendants received terms of probation rather than jail time.


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 his business, maintaining proper records and making prudent financial decisions, he has

 struggled to keep up with rises in interest rates that have nearly doubled the borrowing

 costs connected to both the line of credit his business depends on and the adjustable-rate

 mortgage on his home at a time when local construction work is limited. His most recent

 tax return, prepared for 2024 and submitted this week, is also included under separate cover

 for the Court's review. Counsel has committed to represent Mr. Kelly on these civil matters

 on a pro bono basis to ensure that he receives a fair price for his Fairfax home and can

 amicably restructure his business. We submit, respectfully, that his diminished income and

 significant financial hardships make him unable to pay a fine.

          Counsel's personal experience with Mr. Kelly goes back more than 25 years, and

 includes many instances where Mr. Kelly has given freely to others from his own modest

 means, including giving housing, training, and paid work to many construction laborers

 who found themselves without work, transportation or housing. Counsel also knows Mr.

 Kelly to be a kind and generous spirit when it comes to housing and fostering dogs in need;

 at the current time he has only one rescue dog of his own because of his financial situation

and his impending move from his Fairfax home, but he intends to help foster shelter dogs

again once he settles at a new address.

         Four years have passed since he entered the Capitol on January 6, 2021, and in that

time his only contact with law enforcement is a single charge for operating a motor vehicle

while holding a mobile phone, which was dismissed on the Commonwealth's motion.* In

the 30 years before January 6, 2021, his only contacts with law enforcement were for minor

traffic infractions and misdemeanor charges in 1998 and 2015 that were both dismissed on




* This case is discussed briefly in Paragraph 26 of the Pre-Sentence Report.


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the Commonwealth's motion.' With the exception of that one terrible day four years ago,

he has lived a quiet and law-abiding life; though the Sentencing Guidelines do not apply in

this case, Mr. Kelly would have a Criminal History Category of I and all of the benefits of

being a Zero-Point Offender if they did. See USSG, §84A1.1 and 4C1.1. When presented

with a plea offer, Mr. Kelly promptly agreed to the government's terms, accepted

responsibility, and entered a guilty plea. His assistance with his own prosecution deserves

some consideration, even without the three-point decrease pursuant to §3E1.1.



        The Need for the Sentence Imposed

        Assessing the need for incarceration is always a difficult task that requires

balancing many factors, most importantly the four provided by Congress in §3553(a)(2).

Toward that end, we respectfully submit that there is no need for the Court to impose jail

time. As discussed above, Mr. Kelly's conduct was shameful and serious, but when

 compared to the 1100 other January 6 defendants already sentenced, he is among the

 bottom 20% in relative culpability and more than 40% of all defendants have been

 sentenced to probation.

        Promoting respect for the law is an important aim, but giving Mr. Kelly a harsher

 punishment than so many others whose conduct was similar or worse than his does not

 promote respect. Furthermore, with the upcoming changes in Department of Justice policy

in the new Donald Trump administration, let alone the electorate's choice to return Mr.

 Trump to office, harsh treatment of January 6 misdemeanants does not seem to be an

 important public issue. As for a just punishment, the arguments presented above need not

? Counsel represented Mr. Kelly on all of these cases, including a petition to expunge the 199 trespassing
case; should the Court or the government wish to discuss the details, Counsel's memory of events is better
than Mr. Kelly's.


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be repeated- a term of probation is the only sentence that compares fairly to those imposed

on others, and a jail sentence will not promote respect for the law.

        Furthermore, Mr. Kelly's law-abiding life during the four years following his

offense and his law-abiding life during the 30 years before January 6 show that we know

how he will perform on probation and that there is no need for jail time to provide

deterrence or to protect the public from further crimes. His four years of clean living since

the offense and the lengths he has taken to help those around him show the exact kind of

rehabilitation the United States Supreme Court allowed a district court to consider in

Pepper v. United States, 131 S. Ct. 1229 (2011). And as the Probation Officer noted in his

recommendation, there is no educational or vocational training, medical care or other

correctional treatment that the Bureau of Prisons could provide Mr. Kelly, let alone within

the 14-day sentence suggested by the government.



        The Kinds of Sentences Available


        As noted above, and as discussed in our Plea Agreement and the Pre-Sentence

Report, the Court's options here are limited to a term of probation or a jail sentence, but not

both. Given the greater need for supervision rather than a brief period of incarceration, the

Probation Officer suggests that a two-year term of probation is appropriate, and we concur.

The Court is also able to impose fines of up to $5,000.00 on each count, but given Mr.

Kelly's current financial struggles we submit that he is unable to pay a fine.

        Restitution is appropriate, and Mr. Kelly has agreed to pay $500.00 to the Architect

of the Capitol. Despite his significant financial struggles, he is prepared to make that

payment promptly.




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        The Need to Avoid Unwarranted Sentence Disparities

        Here, too, the record suggests that a term of probation should be imposed. The

justifications for this fall into two categories - the probation terms imposed on over 400 of

the 1100 defendants sentenced and Mr. Kelly's status among those given the lowest

recommended sentences by the U.S. Attorney's Office, and the effect of Mr. Trump's

promised pardons and significant changes in Department of Justice policy and practice.

        The former has been discussed at length above; Mr. Kelly deserves to be treated

like the 433 defendants sentenced to probation rather than the 677 sentenced to jail. The

latter is a separate argument. Given the upcoming inauguration of Mr. Trump on January

20 and his promises to issue pardons and change Department of Justice policy and practice,

we respectfully argue that imposing anything more than probation would create an

unwarranted sentencing disparity. Where Mr. Kelly accepted responsibility promptly,

entered a guilty plea before Election Day and stands before the Court for sentencing before

January 20, those who have denied their guilt and delayed their prosecution or sentencing

to some date after January 20 reasonably expect to receive no punishment at all.

        According to the Department of Justice statistics cited above, as of this writing

approximately 313 defendants have been arrested but have not yet entered a guilty plea or

gone to trial, and approximately 170 additional defendants have entered pleas or been

found guilty at trial but have not yet been sentenced; if Mr. Trump makes good on his

repeated promises none of them will face any punishment, let alone jail time. To give Mr.

Kelly a jail sentence, even a brief one, knowing that prosecutors may not be pursuing these

cases in any meaningful way just a few days from now, would create an unwarranted

sentencing disparity.




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       In addition, over 300 other defendants who have been arrested but not yet tried will

likely see their cases be dismissed in the coming days. And if prior statements from the

Department of Justice about how many people were at the Capitol that day are true, then

there are hundreds - or possibly thousands - of other putative January 6 defendants who

will never even be arrested. Many of the people who have not yet been sentenced, tried or

even arrested yet are in that position in part because they have not accepted responsibility

promptly as Mr. Kelly has, and their decisions to delay and deny and obstruct will pay off

handsomely. To send him to jail now, when all of these others will face no punishment

whatsoever simply because their cases will not be completed before Inauguration Day is

simply patently unfair. That, combined with the fact that 477 other defendants have already

been sentenced to probation, more than half of whom have received higher sentencing

recommendations from the government, the imposition of a term of incarceration on Mr.

Kelly seems to be an obvious and easily-avoided sentencing disparity.

        Furthermore, the issue of privilege rears its ugly head in this case when Mr. Kelly is

compared to Mr. Trump and their respective parts in what happened on January 6, 2021.

What Mr. Kelly did was wrong, but he was not the President of the United States. He did

not have the attention of the media or the crowd on that day or any other day. He did not

know the truth that Mr. Trump knew about the election results. He did not knowingly lie

about election fraud or encourage anyone to go to the Capitol. He did not have the power to

send resources to help law enforcement secure the area, nor was he in any position to

implore the legions of Trump supporters to leave peacefully. Donald Trump, however, had

all of those advantages. But most alarmingly is Mr. Trump's ability, following his election

in November, to force the Special Counsel to come before this Court to announce his plans




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to wind down his investigation and end any possibility of any punishment for his own

actions before, during and after the January 6 attack on the Capitol. Counsel submits as an

Officer of this Court that this is not how the rule of law should govern us, but given that

this is the reality we face together we argue, respectfully, that if Mr. Trump faces no

possibility of jail time despite having far more control over what happened on January 6,

then Mr. Kelly should not go to jail either.



        Conclusion


        When discussing the duty of a sentencing court to craft a just sentence, the Supreme

Court has, in recent years, implored district court judges to craft sentences that reflect the

objectives of §3553(a), basing those judgments on conduct that separates one offender from

another and encouraging courts to grant policy-based variances that are not reviewable in

order to achieve those aims. See Kimbrough, 552 U.S. 85 at 109 (2007), Spears v. United

States, 555 U.S. 261 at 264 (2009), Rita v. United States, 551 U.S. 338 at 348 (2007).

Examining those factors is thus the central focus of sentencing, and we respectfully assert

that those factors favor probation over incarceration for Brian Kelly.

        Mr. Kelly's conduct on January 6, 2021 was shameful. However, when compared to

the other 1100 defendants sentenced, the nature and circumstances of his conduct place him

squarely within the 200 least-culpable defendants. Furthermore, Mr. Kelly's long history of

clean living suggests that this was an aberration, a series of actions on that day that are

completely incongruent with his otherwise quiet and law-abiding life. The four years of

clean living since his offense (and months of successful compliance with Pre-Trial

Supervision following his arrest in 2024) suggests that the Court need not worry about him




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breaking the law again. Brian Kelly is a man the Court will not see in the future, and his

financial problems clearly leave him unable to pay a fine.

        Perhaps the most important of the 3553(a) factors in Mr. Kelly's case is the need to

avoid unwarranted sentencing disparities. The investigation and prosecution of cases

stemming from the January 6, 2021 attack on the Capitol are sui generis, but with over

1100 cases sentenced so far we have a significant sample to compare to Mr. Kelly. The

allegations outlined in the Plea Agreement, the Criminal Complaint and the Pre-Sentence

Report and the government's suggestion of a 14-day sentence all prove that Mr. Kelly is

among the 200 least-culpable charged offenders, and thus far approximately 477 of the

1100 defendants sentenced have not been sent to jail. Much like a sentencing enhancement

or government sentencing argument that does not differentiate one offender from another

based on their actual conduct and the empirical data and national experience of district

court judges, the suggestion that Mr. Kelly deserves jail time simply does not differentiate

him from others based on his conduct and is not supported by empirical data or the

experience of other judges.

        There are two other major sources of unwarranted disparities beyond the sentencing

data available - the significant numbers of defendants whose cases have not yet been tried

or sentenced, and the unknown number of offenders who will never be arrested. While

Counsel does not believe that the Rule of Law is well-served by blanket pardons and

ending the investigation and prosecution of January 6-related cases, our recent election

makes that our new reality. Fundamental fairness demands that Mr. Kelly not be treated

more harshly than these hundreds - or perhaps thousands - of other offenders who will face

no punishment.
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       We ask the Court to impose a term of probation and the two $10.00 Special

Assessments required by law, and order that Mr. Kelly pay the Architect of the Capitol

$500.00 in restitution.


       Should the Court decide that a brief jail sentence is appropriate, we ask that the

Court consider the recommendations of the Probation Officer who prepared the Pre-

Sentence Report and the Pre-Trial Services Officer who supervises Mr. Kelly and allow

him to self-surrender.




                                             Respectfully Submitted,



                                                      /S/
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                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 12th day of January, 2025 an exact copy of the
foregoing Position of the Defense with Respect to Sentencing Factors was filed with the
Clerk of the Court, causing a Notice of Electronic Filing to be sent to:

       Melanie Krebs-Pilotti, Esquire
       Assistant United States Attorney
       450 5th Street NW
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       Washington, DC 20530
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Copies of this document have been forwarded to the following non-filing users:

By electronic mail:

       Sean P. Buckley
       United States Probation Officer
       United States Probation Office for the District of New Hampshire
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By personal service:

       Brian Kelly
       Defendant


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